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                  IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                                     CASE NO. 1:24CR1 AW
                                                                 4:24CR16 AW

WAYNE A. MILLER,
                                        /

       DEFENDANT’S UNOPPOSED MOTION TO CONTINUE TRIAL

      COMES NOW the Defendant, WAYNE A. MILLER, and requests this Court’s

order continuing trial in these cases and in support states the following:

      1. Trials in the above styled cases are currently scheduled for August 28, 2024

         and September 11, 2024 respectively.

      2. The defense and government both anticipate that these cases will be resolved

         with a negotiated plea.

      3. To afford the Defendant an opportunity enter into a written plea agreement

         prior to the trial date, a continuance is requested.

      4. Assistant U. S. Attorney Andrew Grogan has been advised of this motion and

         does not object.

      WHEREFORE, the Defendant respectfully requests that the Court grant this

motion and continue trial for thirty (30) days.
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             CERTIFICATE PURSUANT TO LOCAL RULE 7.1
      I hereby certify that undersigned counsel has conferred with counsel for the
United States, Andrew Grogan, and that he does not object this motion. I further
certify that this motion contains 274 words.
                         CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that a true and correct copy of the foregoing has been
electronically submitted for filing under seal to the CM/ECF system and furnished
by electronic mail to Andrew Grogan, Assistant United States Attorney, Gainesville,
FL, on this 15th day of August, 2024.
                                               Respectfully Submitted,
                                               JOSEPH F. DEBELDER
                                               Federal Public Defender

                                               By: s/ Darren Johnson
                                               _____________ _________
                                               Darren J. Johnson
                                               Assistant Federal Public Defender
                                               New York Bar No. 4056800
                                               101 S. E. 2nd Place, Suite 112
                                               Gainesville, FL 32601
                                               (352) 373-5823
